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15   Attorneys for Defendant Epiq Systems, Inc.
16                        UNITED STATES DISTRICT COURT
17                       CENTRAL DISTRICT OF CALIFORNIA

18   BENJAMIN KARTER,                                     8:20-CV-1385
                                              CASE NO. ___________________
19   individually and on behalf of all
     others similarly situated,                NOTICE OF REMOVAL OF CIVIL
20                                             ACTION TO FEDERAL COURT

21                Plaintiff,                   [Declaration of Michael O’Connor Filed
                                               Concurrently]
22         v.
23
     EPIQ SYSTEMS, INC., a Missouri
24   corporation,
25
                  Defendant.
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 1          TO THE JUDGES FOR THE UNITED STATES DISTRICT COURT
 2   FOR THE CENTRAL DISTRICT OF CALIFORNIA:
 3          PLEASE TAKE NOTICE that Epiq Systems, Inc. (“Epiq”), the only
 4   defendant in the above-titled action, hereby removes this action pursuant to 28
 5   U.S.C. §§ 1332(d), 1441, and 1446 from the Superior Court for the State of
 6   California for the County of Orange to the United States District Court for the
 7   Central District of California. The grounds for removal are set forth below.
 8          1.    On May 26, 2020, Plaintiff Benjamin Karter (“Karter”) commenced
 9   this action by filing a complaint in the Superior Court for the State of California for
10   the County of Orange, captioned Benjamin Karter v. Epiq Systems, Inc., Case No.
11   30-2020-01145269-CU-MC-CXC.
12          2.    On June 30, 2020, Karter served the Complaint and Summons on Epiq.
13   Service was made on Epiq’s registered agent for service of process at 1325 J Street,
14   Suite 1500, Sacramento, CA 95814. Karter’s Proof of Service filed in the state
15   court is attached hereto as Exhibit A.
16          3.    True and correct copies of the Summons and the Complaint are
17   attached hereto as Exhibit B. These are copies of all of the process, pleadings, and
18   orders within the meaning of 28 U.S.C. Section 1446(a) served upon Epiq.
19          4.    This Notice of Removal is timely because it is filed within thirty days
20   of service of process on Epiq. See 28 U.S.C. § 1446(b); Destfino v. Reiswig, 630
21   F.3d 952, 956 (9th Cir. 2011) (“[E]ach defendant is entitled to thirty days to exercise
22   his removal rights after being served.”).
23                              PLAINTIFF’S COMPLAINT
24          5.    Karter alleges that he is a citizen of California. (Compl. ¶ 13.)
25          6.    Epiq is, and at all times since the filing of the state court action, has
26   been a Missouri corporation with its principal place of business in New York. (Id. ¶
27   14.)
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 1         7.     Karter alleges, based on information and belief that Epiq was subject to
 2   a ransomware attack. Also, based on information and belief, Karter alleges that
 3   “this malware and ransomware exfiltrated sensitive data on Epiq’s network(s) and
 4   the data is now in the hands of the perpetrators [of the attack].” (Id. ¶ 5.)
 5         8.     Karter further alleges, based on information and belief, that the
 6   “information stolen from Epiq’s network(s) included nonencrypted and nonredacted
 7   personal information for Plaintiff Karter and the members of the alleged Class.” (Id.
 8   ¶ 6 (internal citation omitted).)
 9         9.     Karter asserts a claim under the California Consumer Privacy Act
10   (“CCPA”), Calif. Civ. Code § 1798.100, et seq. (Compl. ¶¶ 32-38.) Karter asserts
11   no other causes of action.
12         10.    Karter purports to sue on behalf of a class of all “California residents
13   whose nonredacted and nonencrypted personal information was compromised in the
14   data breach(es) affecting Epiq’s network(s) in 2020.” (Id. ¶ 23.)
15         11.    Karter alleges that, although the “exact number of Class members is
16   unknown to Plaintiff at this time,” it is “clear that joinder of each individual member
17   is impracticable.” (Id. ¶ 24.)
18         12.    Karter seeks “statutory damages in an amount not less than one
19   hundred dollars ($100) and not greater than seven hundred and fifty ($750) per
20   consumer per incident.” (Id. ¶ 28.)
21         13.      Karter also seeks an award of “damages, including punitive damages
22   where applicable, to Plaintiff and the Class in amounts to be determined at trial”;
23   “injunctive and other equitable relief”; “reasonable litigation expenses and
24   attorneys’ fees”; “pre- and post-judgment interest”; and “other and further relief as
25   equity and justice may require.” (Id. pp. 9-10.)
26         14.    Epiq denies all of these allegations.
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 1                    BASIS OF FEDERAL JURISDICTION UNDER
 2                           CLASS ACTION FAIRNESS ACT
 3         15.    This action is removable to this Court because federal diversity
 4   jurisdiction exists over Karter’s claims pursuant to the Class Action Fairness Act of
 5   2005, Pub L. 109-2, 119 Stat. 4 (2005) (“CAFA”), codified in various sections of
 6   Title 28 of the United States Code including 28 U.S.C. §§ 1332(d) & 1453.
 7         16.    Congress enacted CAFA to enlarge federal jurisdiction over proposed
 8   class action litigations. CAFA provides that a class action against a non-
 9   governmental entity such as Epiq may be removed to federal court if (a) the number
10   of proposed class members is not less than 100; (b) any member of the proposed
11   class is a citizen of a state different from any defendant; and (c) the aggregate
12   amount in controversy exceeds $5 million, exclusive of interest and costs. See 28
13   U.S.C. §§ 1332(d)(2), 1332(d)(5) & 1453(b). As set forth below, all of the
14   requirements for removal are satisfied.
15                                         Class Size
16         17.    CAFA’s first requirement, that the proposed class contain at least 100
17   members, 28 U.S.C. § 1332(d)(5), is satisfied. Karter acknowledges that the
18   members of each class are “numerous,” and that Epiq “possesses personal
19   information for thousands of consumers.” (Compl. ¶ 24.)
20         18.    Epiq provides a variety of legal services for law firms, corporations,
21   and governmental agencies through legally distinct entities. Epiq Class Action &
22   Claims Solutions, Inc. (“Epiq Class Actions”), a legally separate subsidiary with its
23   own employees, provides class action administration services and is the entity to
24   which Karter allegedly provided his personal information (Compl. ¶ 20). In
25   connection with providing these services, Epiq Class Actions has collected
26   information from more than 50,000 California residents. (Declaration of Michael
27   O’Connor ¶¶ 9-11.)
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 1          19.   The proposed class therefore contains at least 100 members.
 2                            Minimal Diversity of Citizenship
 3          20.   CAFA’s second requirement, that any one member of the proposed
 4   class be a citizen of a state different from any defendant, 28 U.S.C. § 1332(d)(2), is
 5   satisfied.
 6          21.   Karter alleges that he is a citizen of California. (Compl. ¶ 23.)
 7          22.   Epiq is, and at all times since the filing of the Complaint was, a
 8   Missouri corporation with its principal place of business in New York. (Id. ¶ 30.)
 9   As a result, Epiq is a citizen of Missouri and New York. 1
10          23.   Diversity of citizenship therefore exists between at least one proposed
11   class member and the defendant, satisfying 28 U.S.C. § 1332(d)(2).
12          24.   The diversity of citizenship between Karter and Epiq not only satisfies
13   CAFA’s minimal diversity-of-citizenship requirement, but also precludes
14   application of the “local controversy” or “home state” exceptions of 28 U.S.C.
15   §§ 1332(d)(3) and (d)(4).
16                                 Amount in Controversy
17          25.   CAFA’s third requirement, that the aggregate amount in controversy
18   exceed $5 million exclusive of interest and costs, 28 U.S.C. § 1332(d)(2), is
19   satisfied.
20          26.   Although Epiq disputes all allegations in the Complaint and all liability
21   and damages, Karter’s allegations and prayer for relief, irrespective of their merits,
22   place in controversy an amount greater than $5 million.
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24     Although the Complaint does not name Epiq Class Actions as a defendant (the
     company that allegedly had Karter’s data), Epiq Class Actions is a separate Rhode
25
     Island corporation with its principal place of business in Beaverton, Oregon. As a
26   result, CAFA’s minimal diversity requirement would be satisfied even if Epiq Class
     Actions had been named as a defendant and properly served, because Epiq Class
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     Actions (a citizen of Oregon and Rhode Island) is diverse from Karter (a citizen of
28   California).
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 1         27.    Where, as here, the complaint does not set forth a specific sum of
 2   damages sought, the Supreme Court has held a defendant need only make a
 3   “plausible allegation” that the amount in controversy exceeds the jurisdictional
 4   threshold. Dart Cherokee Basin Operating Co. v. Owens, 135 S. Ct. 547, 554
 5   (2014); see also Ibarra v. Manheim Invs., Inc., 775 F.3d 1193, 1197 (9th Cir. 2015)
 6   (“evidentiary submissions” are not required).
 7         28.    In determining whether the defendant has met its burden, “[a] district
 8   court may consider whether it is ‘facially apparent’ from the complaint that the
 9   jurisdictional amount is in controversy,” or may look to “summary judgment-type
10   evidence relevant to the amount of controversy.” Ibarra, 775 F.3d at 1197 (quoting
11   Singer v. State Farm Mut. Auto. Ins. Co., 116 F.3d 373, 377 (9th Cir. 1997)).
12         29.    Karter purports to sue on behalf of a class of “all California residents”
13   whose “personal information was compromised in the data breach(es) affecting
14   Epiq’s network(s) in 2020.” (Compl. ¶ 23.)
15         30.    And on behalf of all class members, Karter seeks, inter alia, “statutory
16   damages in an amount not less than one hundred dollars ($100) and not greater than
17   seven hundred and fifty ($750) per consumer per incident.” (Id. ¶ 28.)
18         31.    Based on the demand for statutory damages alone, the amount in
19   controversy exceeds CAFA’s minimum. As part of its class action administration
20   services, Epiq Class Actions maintains data from more than 50,000 residents of
21   California. (O’Connor Decl. ¶¶ 9-11.) Applying the minimum statutory damages
22   that Mr. Karter requests ($100), the amount of controversy would exceed $5 million.
23         32.    Moreover, Karter also seeks actual damages, including punitive
24   damages (Compl. pp. 8-9), which significantly increases the amount in controversy.
25   See Bell v. Preferred Life Assur. Soc’y, 320 U.S. 238, 240 (1943) (“Where both
26   actual and punitive damages are recoverable under a complaint each must be
27   considered to the extent claimed in determining jurisdictional amount.”). Courts
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 1   routinely apply a “1:1 ratio” of punitive to actual damages when calculating the
 2   amount of punitive damages in controversy. See, e.g., Sloan v. 1st Am. Auto. Sales
 3   Training, 2017 U.S. Dist. LEXIS 58476, at *8 (C.D. Cal. Apr. 17, 2017) (applying a
 4   “conservative 1:1 ratio”).
 5            33.   The same is true of Karter’s demand for attorneys’ fees. See
 6   Lowdermilk v. United States Bank Nat'l Assoc., 479 F.3d 994, 1000 (9th Cir. 2007)
 7   (“We have held that attorneys’ fees were properly included in the amount in
 8   controversy in a class action.”). In determining the amount of fees at issue, courts
 9   typically assume counsel will recover 25% of any damages award. E.g., Giannini v.
10   Nw. Mut. Life Ins. Co., 2012 U.S. Dist. LEXIS 60143, at *14 (N.D. Cal. Apr. 30,
11   2012) (using a “25% of the common fund as a benchmark award for attorney fees”
12   in considering the amount in controversy).
13            34.   Finally, Karter requests injunctive relief (Compl. ¶¶ 12, 28, 37), which
14   adds significantly to the amount in controversy. See Int’l Padi, Inc. v. Diverlink,
15   2005 U.S. App. LEXIS 14234, at *3-4 (9th Cir. July 13, 2005) (“[I]n determining
16   the amount in controversy, we may also include the value of the requested injunctive
17   relief to either party.”).
18            35.   For all these reasons, the amount in controversy is in excess of $5
19   million.
20                                        *      *      *
21            36.   For the foregoing reasons, this action is properly removed to this
22   Court.
23
24            WHEREFORE, Epiq, the only defendant in the above-titled action,
25   respectfully removes this action from the Superior Court for the State of California
26   for the County of Orange to the United States District Court for the Central District
27   of California.
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 1
     Dated: July 29, 2020        JEAN PIERRE NOGUES
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                                 MITCHELL SILBERBERG & KNUPP LLP
 3
 4                               /s/ Jean Pierre Nogues
                                        Jean Pierre Nogues
 5                               Attorneys for Defendant Epiq Systems, Inc.
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